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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                   UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA
   UNITED STATES OF AMERICA                          SECOND AMENDED JUDGMENT IN A CRIMINAL CASE
              V.                                            (For Offenses Committed On or After November I, 1987)
BERNARDO ARMANDO DELACERRA (1)
                                                                        Case Number: 97CR3306-H

                                                     Nancee S. Schwartz
                                                     Defendant's Attorney
REGISTRATION NO.                 00052-196
[8J The parties' joint motion to amend the judgment to refleet a sentenee of time served as of August 5, 2015 is Granted.

[8J pleaded gUilty to count(s)      2 of the Indictment.

o was found guilty on count(s)
    after a plea of not j2;uiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                   Nature of Offense                                                                   Number{s)
21 USC 84 1(a)(l);                DISTRIBUTION OF HEROIN                                                                 2
18 USC 2




    The defendant is sentenced as provided in pages 2 through                  2         of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
~     Count(s)   remaining                                    are           dismissed on the motion of the United States.
                 ------~--------------------
[8J   Assessment: $100.00 waived.



[8J   Fine waived             0 Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant shall notii)' the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notii)' the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    June 24. 2015
                             FILED                                  Date ofImposition of Sentence



                             JUL 15 20t5                            ffi~~L.~

                                                                                                                        97CR3306-H
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                BERNARDO ARMANDO DELACERRA (1)                                          Judgment - Page 2 of2
CASE NUMBER:              97CR3306-H

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of;
 TIME SERVED AS OF AUGUST 5, 2015.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o    ~                               AM                00
                                                                   -----------------------------------
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o    on or before
       o as notified by the United States Marshal.
       o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                ------------------------- to ------------------------------
 at _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                         97CR3306-H
